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   12
   13                            UNITED STATES DISTRICT COURT
   14           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15 VANESSA BRYANT,                               Case No. 2:20-cv-09582-JFW(Ex)
   16                                               PLAINTIFF’S OPENING
                    Plaintiff,                      SUPPLEMENTAL BRIEF RE
   17                                               MONELL CLAIM
              vs.
   18                                               Final Pretrial Conference:
                                                            July 8, 2022 at 8:00 a.m.
   19 COUNTY OF LOS ANGELES, et al.,
   20                                               Hearing on Motions in Limine:
                    Defendants.
                                                           July 15, 2022 at 8:00 a.m.
   21
   22                                               Trial Date: July 26, 2022
   23
                                                    The Honorable John F. Walter
   24
   25
   26         Pursuant to the Court’s February 4, 2022 Minute Order (ECF No. 279),
   27 Plaintiff Vanessa Bryant hereby submits this opening brief regarding the theories of
   28 liability underlying her Monell claim that remain at issue for trial.
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    1 I.      INTRODUCTION
    2         Throughout this case, Plaintiff has presented two theories for Defendants’
    3 Monell liability: an affirmative policy in the form of a widespread practice or
    4 custom, and a policy of inaction in the form of a failure to train and/or implement a
    5 needed policy. Plaintiff has also consistently argued that Defendants’ post-incident
    6 decision to try to sweep the misconduct under the rug rather than investigate or
    7 discipline the bad actors is powerful evidence of the pre-existing custom and
    8 practice and of Defendants’ deliberate indifference to the inadequacy of their
    9 training and policies. Ninth Circuit precedent strongly supports Plaintiff’s position.
   10         Plaintiff has not waived or abandoned any of these theories. She preserved
   11 them in her complaint, in discovery, and in her proposed jury instructions and other
   12 pretrial briefing. Plaintiff was not required to present every argument and piece of
   13 evidence that she might use at trial in opposing Defendants’ motion for summary
   14 judgment. Having successfully defeated summary judgment by showing triable
   15 issues of fact on all claims, she is free to raise evidence and arguments at trial
   16 whether or not they were contained in her opposition. In any event, Plaintiff’s
   17 opposition contested and presented evidence relating to these issues.
   18         Accordingly, Plaintiff may proceed to trial on both of her theories, and may
   19 present evidence of Defendants’ post-incident cover-up and failure to investigate or
   20 discipline in support of both theories.
   21 II.     BACKGROUND
   22         Plaintiff’s Complaint alleges that the County, Sheriff’s Department, and Fire
   23 Department (the “Agency Defendants”) are liable for their employees’ constitutional
   24 violations under 42 U.S.C. § 1983 and Monell v. Dep’t of Social Servs., 436 U.S.
   25 658 (1978). The Complaint alleges multiple theories of liability:
   26         First, the Complaint alleges that the Agency Defendants are liable for their
   27 deliberate failure to act: in particular, their failure to adopt a specific policy
   28 regarding the taking or sharing of photos of human remains, their failure to enforce

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    1 a generic policy prohibiting the use of personal cellular devices to capture or
    2 transmit work-related information, and their failure to train their employees to
    3 refrain from taking or sharing photos of human remains without a legitimate
    4 purpose. (See ECF No. 54 (FAC) ¶¶ 54-61, 81-83.) The Complaint further alleges
    5 that the Agency Defendants were on notice and aware of the problem, and acted
    6 with deliberate indifference in failing to address it. (See FAC ¶¶ 51-52, 61, 82-84.)
    7         Second, the Complaint alleges that the Agency Defendants are liable for their
    8 affirmative policy in the form of a widespread custom or pattern of practice of
    9 gratuitously taking and sharing death images, which the Agency Defendants
   10 tolerated and even encouraged. (See FAC ¶¶ 57.c, 57.d, 60-61, 81, 85-86.)
   11         In addition, the Complaint alleges that Defendants failed to investigate or
   12 discipline employees who engaged in this misconduct, and instead offered amnesty
   13 and attempted to cover up the misconduct. (See FAC ¶¶ 5, 45-49, 61, 72, 82.c, 83.)
   14 As discussed below, this is evidence that supports the existence of both of the above
   15 theories of Monell liability—(1) an affirmative policy in the form of custom or
   16 practice, or (2) a policy of inaction through a deliberately indifferent failure to train
   17 or implement a needed policy.
   18         In discovery, Plaintiff continued to assert and support both theories, including
   19 with evidence of Defendants’ failure to investigate or discipline. (See, e.g., Ex. A
   20 (Pl.’s 2d Am. Resp. to Defs.’ Am. 1st Set of Interrogs.) at 7-18 (identifying facts
   21 supporting Monell claim, including failure to investigate or discipline, cover-up of
   22 misconduct, retaliation against whistleblower, knowledge of the longstanding and
   23 widespread practice of unnecessarily taking and keeping death photos, failure to
   24 institute policies to prohibit the practice, and failure to adequately train and
   25 supervise); ECF No. 92-10 (Ex. I to Martinez Decl. i/s/o Pl.’s Mot. to Compel) at
   26 369-70 (meet and confer correspondence explaining why discovery was “relevant to
   27 Plaintiff’s Monell claim that the Sheriff’s Department had a custom or practice of
   28 violating constitutional rights related to death images” and to “[o]ne of Plaintiff’s

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    1 theories of liability for her Monell claim … that the Sheriff’s Department’s lack of a
    2 policy regarding the photographing and treatment of human remains constituted
    3 deliberate indifference”); ECF No. 92 (Joint Stip. re Pl.’s Mot. to Compel) at 4-5
    4 (explaining relevance of discovery to Plaintiff’s allegation that Defendants acted
    5 with deliberate indifference by failing to establish policies or procedures to prevent
    6 taking and sharing of remains photos and failing to train personnel on that issue);
    7 ECF No. 112 (Joint Stip. re Pl.’s Mot. to Compel) at 33-35 (explaining relevance of
    8 discovery to Plaintiff’s theory for Monell liability due to failure to establish policy
    9 regarding remains photos, including because failure to discipline shows deliberate
   10 indifference)).
   11         In opposing Defendants’ motion for summary judgment, Plaintiff argued that
   12 disputed issues of material fact precluded judgment in Defendants’ favor. (ECF
   13 Nos. 190 (Mem. of P. & A.), 191 (Genuine Disputes of Material Fact).) Although
   14 the section of Plaintiff’s brief specifically addressing legal arguments for Monell
   15 liability focused on Defendants’ policy of inaction—their failure to train or
   16 implement a policy (ECF No. 190 at 15, 18-20)—Plaintiff also made a broader
   17 argument that Defendants’ motion should be denied because the material facts on
   18 which it rested were genuinely disputed. (See, e.g., id. at 1, 10.) In their motion,
   19 Defendants had argued that Plaintiff’s theory that the Agency Defendants “have a
   20 ‘pattern of practice and/or custom of unnecessarily taking and sharing death
   21 images’” failed because “[t]here is no evidence that there is a ‘persistent and
   22 widespread’ practice of sharing death images that has risen to the level of a
   23 ‘permanent and well settled’ County policy.” (ECF No. 169-1 at 25.) In
   24 contravention of that assertion, Plaintiff’s brief and separate Genuine Disputes of
   25 Material Fact pointed to evidence she had adduced on the issue:
   26         •     Sheriff Villanueva’s own admission that “[e]ver since they invented the
   27 Polaroid, law enforcement, first responders, coroner’s office, everybody’s been
   28 taking Polaroids of crime scenes and human remains. And some people collect ’em.

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    1 They put death books…. And this is something that’s true across the nation. It’s
    2 not unique to Los Angeles.” (ECF No. 190 at 2-3, 18-19; ECF No. 191 ¶¶ 92, 128.)
    3         •      Plaintiff’s expert’s testimony that “[i]t is well known and recognized in
    4 the Southern California law enforcement community that officers and deputies
    5 frequently take, view, keep, and share photos of human remains,” a practice that
    6 Plaintiff’s expert himself had observed going back to at least 1983; that officers did
    7 this in full view of their supervisors who did nothing to stop it; that “many senior
    8 officers kept ‘death books’ as ghoulish souvenirs and would display the photos”;
    9 that there was a “widespread practice of unnecessarily taking, sharing, and keeping
   10 photos of human remains”; and that this practice was “pervasive and embedded in
   11 law enforcement culture by January of 2020.” (ECF No. 191 ¶¶ 571-576; ECF No.
   12 190 at 19.)
   13         •      Admissions from Sheriff’s Department and Fire Department employees
   14 that they and their peers have regularly taken and shared photos of human remains
   15 (ECF No. 191 ¶¶ 491-496.)
   16         In addition, Plaintiff pointed to evidence of Defendants’ failure to investigate
   17 or discipline the violations at issue in this case, and to instead discipline a
   18 whistleblower who expressed concerns about both the practice itself and the cover-
   19 up that ensued. (See ECF No. 190 at 8; ECF No. 191 ¶¶ 33, 49, 189, 354-428, 436-
   20 463, 577-590.) Plaintiff argued that this evidence was “highly probative” of
   21 Defendants’ deliberate indifference notwithstanding that it came after the
   22 constitutional violation in this case, citing Henry v. County of Shasta, 132 F.3d 512,
   23 519-20 (9th Cir. 1997), amended by 137 F.3d 1372 (9th Cir. 1997) and Larez v. City
   24 of Los Angeles, 946 F.2d 630, 645 (9th Cir. 1991). (ECF No. 191 ¶¶ 107-108.)
   25         The Court denied Defendants’ Motion for Summary Judgment in its entirety
   26 on the ground that “[f]or the reasons stated in Plaintiff’s Opposition, the Court
   27 concludes that there are genuine issues of material fact for trial.” (ECF No. 227.)
   28         Plaintiff has subsequently sought jury instructions on both her affirmative

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    1 policy (custom/practice) theory and her policy of inaction (failure to train or
    2 implement policy) theory (ECF No. 242 at 50, 59), and argued both theories in
    3 motion in limine briefing, the pretrial conference order, and her memorandum of
    4 contentions of fact and law, contending that both are supported by, among other
    5 things, evidence of Defendants’ failure to investigate or discipline. (See, e.g., ECF
    6 Nos. 234, 235, 238, 240, 261.)
    7 III.    ARGUMENT
    8         A.     Plaintiff Properly Identified Monell Liability Theories Consistent
                     with Ninth Circuit Law and Put Defendants on Notice of Them
    9
   10         The Ninth Circuit recognizes two distinct theories for establishing the

   11 “policy” required for agency liability under Monell: (1) an affirmative policy
   12 (sometimes called a “policy of action”) in the form of an official policy or a
   13 widespread or longstanding custom or practice; and (2) a policy of inaction
   14 (sometimes called a “policy of omission”) in the form of a failure to train,
                         1
   15 implement a policy, or otherwise put a stop to violations that the agency knows or
   16 should know are likely to occur. See, e.g., Jackson v. Barnes, 749 F.3d 755, 763
   17 (9th Cir. 2014); Tsao v. Desert Palace, Inc., 698 F.3d 1128, 1143-44 (9th Cir.
   18 2012); Waggy v. Spokane Cnty., 594 F.3d 707, 713 (9th Cir. 2010); Long v. Cnty. of
   19   1
          The failure to implement a policy can take the form of any “omission” in an
   20   agency’s policies, Tsao, 698 F.3d at 1144-45; Gibson, 290 F.3d at 1194-96,
        including a failure to adopt (or establish) a policy, see, e.g., Natale v. Camden Cnty.
   21
        Corr. Facility, 318 F.3d 575, 585 (3d Cir. 2003), or the failure to enforce a policy
   22   that is nominally on the books, see, e.g., Daniel v. Cook Cnty., 833 F.3d 728, 737
        (7th Cir. 2016); Gordon v. Riverside Transit Agency, 2021 WL 3934663, at *4 (C.D.
   23
        Cal. July 22, 2021), report and recommendation adopted, 2021 WL 3930078 (C.D.
   24   Cal. Sept. 2, 2021); LaVoie v. Haynes, 2011 WL 13183245, at *3 (D. Ariz. Apr. 18,
        2011). In this case, Plaintiff has alleged both. See ECF No. 54 ¶¶ 54-58 (failure to
   25
        adopt a specific policy); id. ¶¶ 59-61 (failure to enforce a generic policy); see also
   26   Pozos Leon v. Tillamook Cnty. Sch. Dist., 2018 WL 2175949, at *7-8 (D. Or. May
        11, 2018) (finding allegations that agency failed “both in enforcing its existing
   27
        policies and in failing to enact new policies” were “sufficient to state a claim that
   28   [agency] had a policy of inaction”).

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    1 L.A., 442 F.3d 1178, 1185 (9th Cir. 2006); Gibson v. Cnty. Of Washoe, 290 F.3d
    2 1175, 1185-86 (9th Cir. 2002), overruled on other grounds in Castro v. Cnty. of
    3 L.A., 833 F.3d 1060 (9th Cir. 2016).
    4         When a plaintiff alleges a policy of inaction, the plaintiff must also show
    5 deliberate indifference. See Tsao, 698 F.3d at 1143-44; Gibson, 290 F.3d at 1185-
    6 86. The Ninth Circuit Model Instructions recognize both of these theories, and
    7 provide a separate instruction for each. See Cmts., 9th Cir. Model Civ. Jury Instrs.
    8 9.5 (where “Monell liability is based on an expressly adopted official policy or a
    9 widespread or longstanding practice or custom”); id. at 9.8 (where “Monell liability
   10 is based on a local governing body’s policy of inaction, such as a failure to train its
   11 police officers” or “failure to adopt a needed policy”).
   12         An agency’s failure to investigate or discipline misconduct is not an
   13 independent theory of Monell liability, but rather evidence that tends to support one
   14 or both of the other two theories—the existence of (1) an affirmative policy, custom,
   15 or practice at the agency, or (2) the agency’s deliberate indifference to the violations
   16 that it failed to stop through training or implementation of policies. See, e.g., Conn
   17 v. City of Reno, 591 F.3d 1081, 1105 (9th Cir. 2010) (“Failure to discipline is not a
   18 separate ground for establishing municipal liability. Rather, it is evidence that tends
   19 to establish the absence of or failure to enforce a policy ….”), cert. granted,
   20 judgment vacated sub nom. City of Reno v. Conn, 563 U.S. 915 (2011), opinion
   21 reinstated in relevant part, 658 F.3d 897 (9th Cir. 2011).2
   22
   23   2
          See also Hunter v. Cnty. of Sacramento, 652 F.3d 1225, 1233-34 & n.8 (9th Cir.
   24   2011) (“evidence of inaction—specifically, failure to investigate and discipline
        employees in the face of widespread constitutional violations—can support an
   25   inference that an unconstitutional custom or practice has been unofficially adopted
   26   by a municipality”); Rodriguez v. Cnty. of L.A., 891 F.3d 776, 802-03 (9th Cir.
        2018) (“We have recognized that a § 1983 plaintiff may prove the second type of
   27   Monell liability”—i.e., “fail[ure] to train employees in a manner that amounts to
   28   ‘deliberate indifference’ to a constitutional right”—“through evidence of a ‘failure

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    1         In particular, evidence of post-incident failure to investigate and discipline is
    2 relevant to proving both theories. “[P]ost-event evidence is not only admissible for
    3 purposes of proving the existence of a municipal defendant’s policy or custom, but
    4 may be highly probative with respect to that inquiry.” Henry, 132 F.3d at 519, as
    5 amended by 137 F.3d 1372. In Henry, the Ninth Circuit cited a “leading” Fifth
    6 Circuit case which held that, where “there were no reprimands” and “no
    7 discharges,” the city’s reaction to the incident “evidenced the city’s preexisting
    8 policy of deliberate indifference to the dangerous recklessness of its police officers.”
    9 Id. at 519-20 (quoting Grandstaff v. City of Borger, 767 F.2d 161 (5th Cir.1985)).
   10 Thus, “a municipal defendant’s failure to fire or reprimand officers evidences a
   11 policy of deliberate indifference to their misconduct.” Henry, 132 F.3d at 520.
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        to investigate and discipline employees in the face of widespread constitutional
   24   violations’”); Gomez v. Vernon, 255 F.3d 1118, 1127 (9th Cir. 2001) (“a policy-
        maker’s pronouncement that he has not or will not discipline officers that
   25
        [committed violations] is sufficient evidence of a policy or custom”;
   26   “administrators’ failure to investigate” complaints and “the lack of reprimand or
        discipline for the officers involved” demonstrate a “turn a-blind-eye approach” that
   27
        “supports the district court’s finding that there was a policy or custom that led to
   28   violation of the [plaintiffs’] rights”).

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    1 Numerous other Ninth Circuit3 and district court4 decisions accord.
    2         Here, Plaintiff properly pleaded Monell liability under both theories: an
    3 affirmative policy in the form of an informal and unofficial but longstanding and
    4 widespread custom or practice, (see ECF No. 54 ¶¶ 57.c, 57.d, 60-61, 81, 85-86);
    5
        3
          See, e.g., Nehad v. Browder, 929 F.3d 1125, 1142 (9th Cir. 2019) (evidence that
    6
        department “took no action” against officer for the violation at issue and conducted
    7   an irregular interview of the officer “several days after the shooting, once [the
        officer] had watched the surveillance video with his lawyer” was sufficient to create
    8
        triable issue of an informal practice or custom), cert. denied, 141 S. Ct. 235 (2020);
    9   Larez v. City of L.A., 946 F.2d 630, 645, 647 (9th Cir. 1991) (court could “hardly
        think of better evidence” than police chief’s statements to press after incident to
   10
        show that he “set a tone which condoned and encouraged the use of excessive
   11   force”; jury “properly could find such policy or custom [of resorting to excessive
        force] from the failure of [police chief] to take any remedial steps after the
   12
        violations”; evidence of improper procedures and “‘holes’ and inconsistencies” in
   13   city’s post-incident investigation of plaintiffs’ complaint supported conclusion that
        “LAPD’s disciplinary and complaint processes, executed by policy or custom,
   14
        contributed to the police excesses”); McRorie v. Shimoda, 795 F.2d 780, 784 (9th
   15   Cir. 1986) (“Policy or custom may be inferred if, after the [particular constitutional
   16   violation at issue], the prison officials took no steps to reprimand or discharge the
        [relevant employees] ….”).
   17   4
          See, e.g., Berg v. Cnty. of L.A., 2021 WL 4691154, at *9, 13 (C.D. Cal. May 28,
   18   2021) (failure to discipline officers for violations “at the heart of this case” supports
        Monell claim that LAPD “has unofficial custom or policy” of indiscriminately using
   19
        excessive force; “the lack of evidence that any officers have been counseled or
   20   disciplined for the uses of force at the … protests in question indicates that those
        allegedly unreasonable uses of force were officially sanctioned”); Soderberg v. City
   21
        of L.A., 2020 WL 6540511, at *22 (C.D. Cal. Sept. 30, 2020) (“a reasonable jury
   22   could find … that the City’s failure to train the officer defendants after their conduct
        was found to be outside of policy” in a post-incident investigation “evidences an
   23
        informal policy or practice of deliberate indifference”); Est. of Sanchez v. Cnty. of
   24   Stanislaus, 2020 WL 2937456, at *2 (E.D. Cal. June 3, 2020) (evidence of post-
        event failure to investigate supports Monell liability); Paris v. Conmed Healthcare
   25
        Mgmt., Inc., 2017 WL 7310079, at *12 (D. Or. Nov. 28, 2017), report and
   26   recommendation adopted, 2018 WL 664807 (D. Or. Jan. 31, 2018) (post-event
        failure to reprimand supports policy or custom); Lisker v. City of L.A., 2013 WL
   27
        1276047, at *33 (C.D. Cal. Feb. 4, 2013) (police chief’s failure to discipline and
   28   endorsement of flawed investigation was evidence of custom or policy).

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    1 and a policy of inaction in the form of a deliberately indifferent failure to train or to
    2 adopt or enforce a policy against the taking of death photos, (see FAC ¶¶ 51-61, 81-
    3 84). In support of those allegations, Plaintiff alleged, inter alia, that Defendants
    4 failed to investigate or discipline the officers involved and attempted to cover up the
    5 misconduct. (See id. ¶¶ 5, 45-49, 61, 72, 82.c, 83.) Throughout discovery, Plaintiff
    6 continued to identify both theories and the evidence supporting them, including the
    7 post-incident cover-up and failure to investigate or discipline. (See, e.g., Ex. A
    8 (Pl.’s 2d Am. Resp. to Defs.’ Am. 1st Set of Interrogs.) at 7-18; ECF No. 92-10 (Ex.
    9 I to Martinez Decl. i/s/o Pl.’s Mot. to Compel) at 369-70; ECF No. 92 (Joint Stip. re
   10 Pl.’s Mot. to Compel) at 4-5; ECF No. 112 (Joint Stip. re Pl.’s Mot. to Compel) at
   11 33-35.)
   12         Defendants nevertheless argue that Plaintiff abandoned or waived the custom
   13 or practice theory, and the evidence related to failure to investigate or discipline, by
   14 not raising them in opposition to Defendants’ summary judgment motion.
   15 Defendants are wrong both legally and factually. Legally, Plaintiff was not required
   16 to raise all possible arguments or evidence in her opposition to summary judgment
   17 to preserve them for trial. Factually, Plaintiff did in fact raise these issues in
   18 opposing Defendants’ motion.
   19         B.     Plaintiff Was Not Required to Raise Every Argument or Piece of
                     Evidence in Successfully Opposing Summary Judgment to
   20                Preserve Them for Trial
   21         Defendants are wrong that Plaintiff was required to raise her custom or
   22 practice theory in opposition to Defendants’ summary judgment motion in order to
   23 preserve it for trial. All Plaintiff had to do was to defeat the motion by pointing to
   24 triable issues of material fact on her Section 1983 Monell claim. She was not
   25 required to raise every argument she intended to advance at trial. Defendants are
   26 doubly wrong that Plaintiff was required to raise a theory of failure to investigate or
   27 discipline in order to preserve it. As discussed above, failure to investigate or
   28 discipline is not an independent legal theory of liability but is instead evidence

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    1 supporting liability under either a custom/practice or a failure to train/implement
    2 policy theory. And a party need not include all evidence it plans to use at trial in
    3 opposition to a summary judgment motion.
    4                1.       A Party Need Not Raise on Summary Judgment Every
                              Argument It Intends to Prove at Trial
    5
              It is “well-established” that “a party need not raise on summary judgment
    6
        every argument it intends to advance at trial.” U.S. Bank Nat’l Ass’n v. PHL
    7
        Variable Ins. Co., 2015 WL 4610894, at *2 (S.D.N.Y. July 30, 2015). In U.S. Bank,
    8
        defendant Phoenix argued that plaintiff U.S. Bank should be precluded from
    9
        asserting at trial a theory for why Phoenix breached a contract because U.S. Bank
   10
        had failed to advance that theory either in its own motion for summary judgment or
   11
        in opposition to Phoenix’s motion for summary judgment. Id. at *1-2. The court
   12
        rejected Phoenix’s argument. By failing to raise the theory in summary judgment
   13
        briefing, U.S. Bank had “forfeited its right to use the [theory] in order to defeat
   14
        Phoenix’s summary judgment motion and prevail on its own motion.” Id. at *2.
   15
        But having survived summary judgment, U.S. Bank was free to use the theory at
   16
        trial because it had preserved it in its complaint. “Fairly read, the complaint easily
   17
        encompasses the temporal breach claim. That U.S. Bank chose not to advance that
   18
        theory in support of its summary judgment motion (or in opposition to Phoenix’s)
   19
        means nothing other than that the argument is reserved for trial.” Id.
   20
              Other decisions are in accord. For example, in Long v. Howard Univ., 550
   21
        F.3d 21 (D.C. Cir. 2008), the plaintiff argued that the defendant had forfeited an
   22
        affirmative defense by failing to raise it in a successful opposition to the plaintiff’s
   23
        summary judgment motion, which the defendant defeated on other grounds by
   24
        showing the existence of genuine factual disputes. See id. at 24; Long v. Howard
   25
        Univ., 439 F. Supp. 2d 68, 70 (D.D.C. 2006). The D.C. Circuit rejected the
   26
        argument, noting that—as here—the party had preserved the argument by alleging it
   27
        in its pleading and then repeating it in discovery responses, at the pretrial
   28

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    1 conference, and a motion in limine. Long, 550 F.3d at 24. “There is no requirement
    2 that a party assert a … defense in opposition to a summary-judgment motion in
    3 order to assert it at trial. On the contrary, the defense can be raised at trial so long as
    4 it was properly asserted in the answer and not thereafter affirmatively waived.” Id.
    5 See also, e.g., Bequeath v. L.B. Foster Co., 367 F. Supp. 2d 779, 787 & n.5 (W.D.
    6 Pa. 2005) (party who defeated summary judgment on discrimination claim arguing
    7 only a pretext theory also preserved for trial a mixed motive theory); Armbruster v.
    8 Unisys Corp., 32 F.3d 768, 781 & n.17 (3d Cir. 1994) (affirming summary judgment
    9 on Price Waterhouse mixed motive theory of discrimination, but nevertheless
   10 allowing plaintiff to present evidence of that theory at trial in light of reversal of
   11 summary judgment on a separate theory: “[w]hile the evidence here presented to us
   12 at the summary judgment state does not trigger the Price Waterhouse framework,
   13 the evidence presented during trial may”).
   14         This makes sense in light of the rules for summary judgment, which do not
   15 require the non-moving party to prove its entire case and expressly contemplate that
   16 issues are preserved for trial even if not raised in opposition. Indeed, “[w]here the
   17 evidentiary matter in support of the motion does not establish the absence of a
   18 genuine issue, summary judgment must be denied even if no opposing evidentiary
   19 matter is presented.” Adickes v. S.H. Kress & Co., 398 U.S. 144, 160 (1970)
   20 (quoting FED. R. CIV. P. 56(e) advisory committee’s note to 1963 amendment)
   21 (emphasis added). Thus, denial of summary judgment may be required even if the
   22 motion is entirely unopposed. See, e.g., Henry v. Gill Indus., Inc., 983 F.2d 943,
   23 950 (9th Cir. 1993); Hernandez v. Cnty. of Marin, 2013 WL 4525640, at *4 (N.D.
   24 Cal. Aug. 19, 2013). Similarly, while Rule 56(e)(2) “authorizes the court to
   25 consider a fact as undisputed for purposes of the motion” if the non-moving party
   26 fails adequately to respond to the motion, “[t]he fact is considered undisputed only
   27 for purposes of the motion; if summary judgment is denied, a party who failed to
   28 make a proper Rule 56 response or reply remains free to contest the fact in further

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    1 proceedings.” FED. R. CIV. P. 56 advisory committee’s note to 2010 amendment.
    2 Thus, Rule 56 contemplates that—if summary judgment is denied—arguments not
    3 raised in opposition to the motion for summary judgment are preserved for trial.
    4         This also makes sense in light of the space constraints and other practical
    5 considerations underlying an opposition to summary judgment. To survive
    6 summary judgment, the non-moving party need only convince the court that a
    7 genuine dispute of material fact precludes judgment in the moving party’s favor.
    8 This is often best accomplished by a targeted opposition focusing on the most
    9 glaring weaknesses in the motion. There often will not be space to lay out every
   10 argument that might be advanced at trial, nor is that often rhetorically effective. If
   11 the non-moving party shows or the court finds that a genuine dispute of material fact
   12 precludes judgment in the moving party’s favor, the motion is denied. Rule 56
   13 contemplates no limitation on the arguments that the parties may advance at trial.
   14 As the Seventh Circuit has observed: “A trial court’s task on summary judgment is
   15 specific and limited—‘to decide, based on the evidence of record, whether there is
   16 any material dispute of fact that requires a trial.’ In denying such a motion, the
   17 court ‘decides only one thing—that the case should go to trial;’ that denial ‘does not
   18 settle or even tentatively decide anything about the merits of the claim.’” Watson v.
   19 Amedco Steel, Inc., 29 F.3d 274, 277 (7th Cir. 1994) (citations omitted).
   20         The situation is obviously very different if the non-moving party loses
   21 summary judgment. In that situation, the party generally will not be able to seek
   22 reconsideration of the decision on grounds that it could have presented in the
   23 opposition but did not. See C.D. Cal. Civ. L.R. 7-18. Nor will the party generally
   24 be allowed to present arguments on appeal that were not presented to the district
   25 court in opposing the motion. See generally Honcharov v. Barr, 924 F.3d 1293,
   26 1295-96 (9th Cir. 2019). Thus, in Shakur v. Schriro, 514 F.3d 878 (9th Cir. 2008)
   27 —the sole case on which Defendants previously relied—a plaintiff whose claims
   28 were dismissed on summary judgment was precluded from raising on appeal an

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    1 argument that the plaintiff had not made to the district court in unsuccessfully
    2 opposing the motion. The plaintiff’s complaint, liberally construed, had included a
    3 claim under the Establishment Clause, as well as claims under the Free Exercise and
    4 Equal Protection Clauses and a statutory claim. But when defendant moved for
    5 summary judgment, the plaintiff did not raise the Establishment Clause and the
    6 district court granted summary judgment in the defendant’s favor on all counts,
    7 addressing only the Free Exercise and Equal Protection Clauses and the statutory
    8 claim. Id. at 883, 892. The court held that, by failing to raise the Establishment
    9 Clause claim in his unsuccessful opposition to summary judgment, the plaintiff
   10 “failed to preserve this issue for appeal.” Id. at 892 (emphasis added).
   11         Defendants take Shakur out of context and seek to extend its holding to a
   12 general rule that a party “abandons” any argument for trial if it does not make the
   13 argument in its opposition to a summary judgment motion—even though the party
   14 successfully defeats summary judgment on other grounds. Shakur simply doesn’t
   15 address that circumstance. Shakur addresses whether a party preserved an issue “for
   16 appeal” by failing to raise it in the district court before having judgment entered
   17 against him, id. at 892, and is consistent with the Ninth Circuit’s “general rule [that]
   18 we will not consider arguments that are raised for the first time on appeal.” Smith v.
   19 Marsh, 194 F.3d 1045, 1052 (9th Cir. 1999). That is a very different situation,
   20 driven by different structural concerns not applicable here: “‘preserv[ing] the
   21 integrity of the appellate structure’ by ensuring that ‘an issue must be presented to,
   22 considered and decided by the trial court before it can be raised on appeal.’”
   23 Honcharov, 924 F.3d at 1295; see also id. at 1296 (“Waiver and forfeiture are thus
   24 important tools for preserving the structure of hierarchical court systems by
   25 allowing appellate courts to act as courts of ‘review, not first view.’”).5 Extending
   26
        5
        Unlike the granting of summary judgment, the denial of summary judgment is not
   27
      reviewable on appeal and becomes moot after a full trial. See Locricchio v. Legal
   28 Servs. Corp., 833 F.2d 1352, 1358-59 (9th Cir. 1987); Watson, 29 F.3d at 277.

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    1 Shakur as Defendants attempt to do would be inconsistent not only with “the
    2 rationales behind waiver and forfeiture,” id. at 1296, but also with Rule 56’s express
    3 contemplation that arguments not raised in opposition are preserved for trial if
    4 summary judgment is denied.
    5         This distinction has been recognized by the courts. In Daingerfield Island
    6 Protective Soc’y v. Babbitt, 40 F.3d 442 (D.C. Cir. 1994), the plaintiff argued that
    7 the defendant had abandoned a defense by not raising it in a summary judgment
    8 motion. The plaintiff cited precedent holding that a defendant “abandoned its
    9 affirmative defenses … by not raising them prior to summary judgment.” Id. at 445
   10 (quoting United Mine Workers of Am. 1974 Pension v. Pittston Co., 984 F.2d 469,
   11 478 (D.C. Cir. 1993)). The court found that holding “inapposite” because there the
   12 defendant had lost summary judgment and was trying to advance new arguments on
   13 reconsideration and appeal of that ruling: “[T]he Pittston court simply found that
   14 waiver precluded the defendant from raising those defenses for the first time after
   15 summary judgment had been granted in the plaintiff’s favor.” Daingerfield Island,
   16 40 F.3d at 445. That logic did not apply to a defendant who pleaded the defense in
   17 is complaint and survived (or obtained) summary judgment without raising the
   18 defense. See id. (“[T]he government adequately raised the limitations defense in its
   19 answer—it was not required to reassert the defense in its subsequent successful
   20 summary judgment motion.”); Long, 550 F.3d at 25 (extending Daingerfield to
   21 situation where defendant successfully opposed summary judgment on other
   22 grounds, and similarly distinguishing Pittston; “there is no requirement that a party
   23 assert a statute-of-limitations defense in opposition to a summary-judgment motion
   24 in order to assert it at trial”).
   25         Accordingly, Plaintiff was under no obligation to raise all of her theories for
   26 Monell liability in her opposition to summary judgment to preserve them for trial.
   27 Having defeated summary judgment by showing genuine issues of material fact, all
   28

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    1 of the theories asserted in Plaintiff’s complaint (and maintained in discovery, jury
    2 instructions, and other pretrial briefing) were preserved for trial.
    3                2.       A Party Need Not Present All the Evidence That It Intends to
                              Present at Trial in Opposition to Summary Judgment
    4
              As explained above, Defendants’ post-incident failure to investigate or
    5
        discipline the officers involved in the misconduct at issue, and their attempt to
    6
        sweep it under the rug and retaliate against a whistleblower, is not an independent
    7
        legal theory of Monell liability; rather, it is evidence that supports both the custom
    8
        practice and failure to train/implement policy theories. See supra pp. 6-8 & notes 2-
    9
        4. And it is black-letter law that when a court denies a defendant’s summary
   10
        judgment motion on a claim, a plaintiff is “free to present evidence on this claim at
   11
        trial and is not limited to evidence that was presented in the summary judgment
   12
        record.” Beem v. Providence Health & Servs., 2011 WL 13228199, at *2 (E.D.
   13
        Wash. Dec. 12, 2011); see also, e.g., United Incentives, Inc. v. Sea Gull Lighting
   14
        Prod., Inc., 1993 WL 147266, at *1 (E.D. Pa. May 4, 1993) (“Clearly, at trial parties
   15
        are not limited to evidence produced in support of and opposition to unsuccessful
   16
        summary judgment motions.”); Reefer & Gen. Shipping Co. v. Great White Fleet,
   17
        Ltd., 1995 WL 575290, at *5 (S.D.N.Y. Sept. 28, 1995) (neither party was
   18
        “preclude[d] … from offering additional evidence on this issue at trial” by court’s
   19
        denial of summary judgment motion); Kutner Buick, Inc. v. Am. Motors Corp., 868
   20
        F.2d 614, 619 (3d Cir. 1989) (“[s]ince the record at a trial may be different” than on
   21
        summary judgment, “[t]he denial of a motion for summary judgment” “does not
   22
        determine what issues should be submitted to the jury”); FED. R. CIV. P. 56 advisory
   23
        committee’s note to 2010 amendment (even where non-moving party fails to
   24
        controvert a fact for purposes of summary judgment motion, “if summary judgment
   25
        is denied, a party who failed to make a proper Rule 56 response or reply remains
   26
        free to contest the fact in further proceedings”).
   27
   28

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    1         Indeed, the Ninth Circuit has held that a jury verdict will be upheld if
    2 supported by new evidence not presented in a successful opposition to summary
    3 judgment, even if summary judgment should have been granted on the record then
    4 presented. See Locricchio, 833 F.2d at 1358-59. “[A] party may not rely on the
    5 undeveloped state of the facts at the time he moves for summary judgment to
    6 undermine a fully-developed set of trial facts which militate against his case.”
    7 Holley v. Northrop Worldwide Aircraft Servs., Inc., 835 F.2d 1375, 1378 (11th Cir.
    8 1988).
    9         Accordingly, Plaintiff is free to present evidence of a failure to investigate or
   10 discipline at trial regardless of whether she is deemed to have presented that
   11 evidence in opposition to Defendants’ summary judgment motion; she cannot have
   12 “abandoned” that evidence.
   13         C.     In Any Event, Plaintiff Did Raise These Issues in Opposing
                     Summary Judgement
   14
              In any event, Plaintiff did sufficiently contest these issues in opposing
   15
        Defendants’ summary judgment motion, such that Defendants’ abandonment theory
   16
        is academic and fails on the facts as well as the law.
   17
              Plaintiff argued in her opposition that genuine disputes of material fact
   18
        precluded summary judgment, and that Defendants had flipped the summary
   19
        judgment standard “on its head” by basing their motion “on inferences drawn in
   20
        their favor from disputed facts” and by ignoring key evidence. ECF No. 190 at 2,
   21
        10. That applies in particular to the arguments Defendants made about the custom
   22
        or practice theory of Monell liability and the evidence of post-incident failure to
   23
        investigate or discipline.
   24
              In her brief and Genuine Disputes of Material Fact, Plaintiff specifically
   25
        controverted the facts on which Defendants had sought summary judgment on the
   26
        Monell claim under a custom or practice theory. Defendants argued that the custom
   27
        or practice theory failed because “[t]here is no evidence that there is a ‘persistent
   28

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    1 and widespread’ practice of sharing death images that has risen to the level of a
    2 ‘permanent and well settled’ County policy,” citing three supposedly undisputed
    3 facts. (ECF No. 169-1 at 25-26 (citing SSUF ¶¶ 82, 91, 92).) Defendants went on
    4 to undermine their own assertion by acknowledging Sheriff Villanueva’s admissions
    5 that this was a longstanding problem in law enforcement throughout the country.
    6 (ECF No. 169-1 at 25-26 (citing FAC¶ 83 and SSUF ¶¶ 91, 92.) Because the
    7 motion did not establish the absence of a genuine issue, denial of summary
    8 judgment on this ground would have been required “even if no opposing evidentiary
    9 matter [had been] presented.” Adickes, 398 U.S. at 160(1970). But Plaintiff did
   10 present opposing evidence. She specifically disputed each of the three supposedly
   11 undisputed facts upon which Defendants’ argument was based. (See ECF No. 191
   12 ¶¶ 82, 91, 92.) And she presented additional evidence of Defendants’ widespread
   13 and longstanding custom or practice of taking and sharing death photos. (See id. ¶¶
   14 128, 491-496, 571-576; see also supra pp. 3-4.) Plaintiff discussed and cited this
   15 evidence in her brief. (See ECF No. 190 at 2-3, 18-19.) Plaintiff’s brief focused on
   16 the relevance of that evidence to Defendants’ deliberate indifference to their failure
   17 to train or implement policy, but the very same evidence also shows a custom or
   18 practice.
   19         Plaintiff’s opposition also specifically controverted Defendants’ arguments
   20 about their failure to investigate and discipline. Defendants made a legal argument
   21 that their post-incident conduct in refusing adequately to investigate or discipline the
   22 misconduct was irrelevant because those subsequent actions could not have caused
   23 the antecedent misconduct. (See ECF No. 169-1 at 24-25.) That legal argument has
   24 been rejected by the Ninth Circuit. See, e.g., Henry, 132 F.3d at 519-20; see also
   25 supra pp. 7-8 and notes 3-4. Accordingly, summary judgment on this ground should
   26 have been rejected even if unopposed and if no opposing facts were presented. See
   27 Henry, 983 F.2d at 950; Hernandez, 2013 WL 4525640, at *4. But Plaintiff did
   28 contest the argument: She noted that Defendants’ legal conclusions had been

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    1 rejected by the Ninth Circuit, which has held that a defendant’s post-violation
    2 conduct can be “highly probative” because a municipality’s pre-existing deliberate
    3 indifference “may be inferred circumstantially” from the municipality’s response to
    4 the constitutional violations. (ECF No. 191 ¶¶ 107-108 (citing and quoting Henry,
    5 132 F.3d at 519-20 and Larez, 946 F.2d at 645).) She specifically argued that
    6 “LASD’s highly irregular so-called ‘inquiry’ in response to the citizen complaint
    7 serves as additional evidence from which a jury could reasonably infer deliberate
    8 indifference” and that a “jury could fairly find the Sheriff tried to sweep the
    9 constitutional violation under the rug” and that this, as well as its “decision to forgo
   10 discipline on the deputies who took and shared the photos,” “‘set a tone which
   11 condoned’ the misconduct.” (ECF No. 191 ¶¶ 107-108.) And she supported those
   12 arguments by adducing evidence of Defendants’ failure to investigate or discipline
   13 the violations at issue in this case, and to instead discipline a whistleblower who
   14 expressed concerns about it. (See ECF No. 190 at 8; ECF No. 191 ¶¶ 33, 49, 189,
   15 354-428, 436-463, 577-590.)
   16         For these reasons, even if Plaintiff had been required in opposing summary
   17 judgment to present evidence regarding custom/practice or failure to
   18 investigate/discipline to preserve those issues for trial—and she was not—Plaintiff
   19 did so.
   20 IV.     CONCLUSION
   21         For the foregoing reasons, the Court should reject Defendants’ argument that
   22 Plaintiff has abandoned her theories of Monell liability based on custom or practice
   23 or on Defendants’ failure to investigate or discipline by not raising them in
   24 opposition to Defendants’ motion for summary judgment. The Court should instead
   25 hold that (1) Plaintiff adequately preserved arguments that the Agency Defendants
   26 are liable under either an affirmative policy in the form of custom or practice, or a
   27 policy of inaction in the form of a deliberately indifferent failure to train or adopt or
   28 enforce a needed policy, and (2) that Plaintiff may put on any admissible evidence

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    1 in support of those theories, including post-violation conduct probative of
    2 Defendants’ deliberate indifference or custom or practice, such as Defendants’
    3 failure to investigate or discipline misconduct.
    4
    5 DATED: February 14, 2022            WILSON SONSINI GOODRICH & ROSATI,
                                          Professional Corporation
    6
    7                                     By:            /s/ Luis Li
    8                                                        LUIS LI
    9
                                          Attorneys for Plaintiff Vanessa Bryant
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